Case 1:13-cv-O06005-NLH-JS Document 35 Filed 05/23/14 Page 1 of 5 PagelD: 686
McCFADDEN & SHOREMAN

ATTORNEYS AT LAW
1050 CONNECTICUT AVENUE, NW
SUITE 1000
WASHINGTON, DC 20036
(202) 772-3188
FAX (202) 204-8610

DOUGLAS B. MCFADDEN (DC, NY) JOHN M. SHOREMAN (DC, NY)

May 23, 2014

VIA FAX TRANSMISSION AND E-FILING
Hon. Joel Schneider

U.S. District Court for the District of New Jersey
401 Market Street,

Camden, NJ 08102

 

Re: Astero v. Talk Radio Network Entertainment, Inc., 13 cv 06005- NLH-JS
Dear Judge Schneider:

Please accept this correspondence in lieu of a formal motion given the time constraints
involved in the relief requested. Defendants Talk Radio Network Entertainment, Inc. (““TRN-E”)
and Mark Masters respectfully request the Court to permit Mr. Masters to attend the settlement
conference scheduled for May 28, 2014, via phone and excuse his physical presence so he need
not make the flight from Oregon to New Jersey and back again. TRN-E’s executive vice-
president, Ron Severaid, who will attend the conference, has full authority to settle the case and
bind TRN-E with his signature.

Mr. Masters was initially hesitant to schedule the trip given a chronic back problem.
Unfortunately, since the conference was set, Mr. Masters’ has suffered a great deal of back pain
and feels he is physically unable to make the trip. In fact, Mr. Masters believes he may have to
be immobilized, as has happened before, if he is required to fly back and forth across the
country. As confirmed in the attached letter from Mr. Masters’ therapist, he is suffering from a
herniated disc in his lower back. As stated, travel at this time “could result is a serious relapse
and further damage his lower back.”

Mr. Severaid is authorized to settle this matter, and Mr. Masters is available via phone
throughout the settlement conference. Mr. Masters’ actual presence is not essential, and the
travel required will exacerbate an already painful medical situation. Counsel for Plaintiffs have
advised the undersigned that this request is opposed and have asked that the attached email
exchange be submitted with this letter. If the Court requires further information to rule on this
Case 1:13-cv-06005-NLH-JS Document 35 Filed 05/23/14 Page 2 of 5 PagelD: 687
McFADDEN & SHOREMAN, PAGE 2

matter, please advise undersigned counsel at (571) 296-8450 and I will arrange a conference call

with Plaintiffs’ counsel.

Respectfully submitted,

/s/ John M. Shoreman

 

John M. Shoreman
pro hac vice Counsel

ce: Christian S. Molnar, Esq. (via e-mail)
Tim J. McIlwain, Esq. (via e-mail)

/s/ Athan T. Tsimpedes

 

Athan T. Tsimpedes

1920 N Street, NW, Suite 300
Washington, DC 20036
(202) 464-9910

Counsel for Defendants
Case 1:13-cv- -
3-cv-06005-NLH-JS Document 35 Filed 05/23/14 Page 3 of 5 PagelD: 688

Radiant Family uc

228 NW B Street
Grants Pass, OR 97526
(541) 244-0111

www.theradiantfamily.com

To all concerned,

| am a practitioner of Therapeutic Process at Radiant Family LLC. | have worked with Mark Masters
for chronic lower back issues for several years.

Having been Mark Master's therapist consistently for so many years, Lam deeply concerned that
Mr. Masters cannot travel by plane in his current condition. He suffers from trouble with a
herniated disc in his lower back. in the past, he has suffered relapses in his progress due to plane
travel and long trips.

Currently, his state of health warrants concern over traveling long hours. Past incidences of his
having traveled in a state similar to this have resulted in his needing emergency care and being
unable to work. For the sake of his health, | cannot recommend Mr. Masters do any plane travel or
long seated journey at this time. Doing so could result ina serious relapse and further damage to
his lower back, and a negative cascade event of other health issues.

Please feel free to contact me if yo e any questions.

    
 

Kind regards,
Case 1:13-cv-06005-NLH-JS. Document 35. Filed 05/23/14. Page 4 of 5. PagelD:.689

— wie ipo a
Verizon Message Center

 

Friday, May 23 at 3:12 PM
From:Christian Molnar <christian@christiansmoinariaw.com>
To:"jmshoreman@verizon.net" jmshoreman@verizon.net, “attorney@Mcilwain.com" attorney@Mcilwain.com
Ce:Ashley Hunt , “Joey Cane Work (jcane@businessipc.com)"

Subject:RE: Astero v. TRNE

John:

Our position remains unchanged from the telephonic settlement
conference, we firmly believe that Mr. Masters should be present, in-
person at the Settlement Conference on Wednesday, May 28, 2014,
at 10:00 a.m., and question the efficacy of Defendants proposing to
send only a Non-Party, Mr. Severaid. We have already booked non-
refundable airfare and hotel accommodations and our client, Ms.
Tantaros, has taken the time off of both of her shows on Fox and
made travel arrangements to be there in-person on the long-
scheduled date. While | sympathize with Mr. Master's back issues,
unless they are life threatening or so painful as to be subject of a
doctors written instructions not to travel, we must respectfully take the
position that he should be there and in-person. The day in questions
happens to be my birthday but there was never any question that |
would and will be there. | am not in any way trying to be cavalier here
in my position, simply attempting to ensure that we have the players
present and in-person to maximize the potential for a successful
resolution of the case next Wednesday.

| trust that you will convey our position to the court and provide it with
a copy of this email.

Cordially,

Christian §. Molnar, Fisq.

CHRISTIAN S. MOLNAR LAW CORPORATION
12400 Wilshire Boulevard, Suite 1180

Los Angeles, California 90025
 

Serb Sogapvepent 35 Filed 05/23/14 Page 5 of 5 PagelD: 690
Mobile: (310) 570-9099

This communication may contain information that is legally privileged, confidential or exempt from
disclosure. If you are not the intended recipient, or a person responsible for delivering it to the
intended recipient, please note that any dissemination, distribution, or copying of this
communication is strictly prohibited. Anyone who receives this message in error should notify the
sender immediately by telephone or by return e-mail and delete it from his or her computer.

From: imshoreman@verizon.net [mailto:imshoreman@verizon.net)
Sent: Friday, May 23, 2014 10:24 AM

To: Christian Molnar; attorney@Mcilwain.com

Subject: Astero v. TRNE

Christian and Tim:

My clients hope to get their comments on the proposed settlement agreement back to you over the weekend. In the
meantime, | am advised that Mark Master's back problem is seriously aggravated and he cannot fly back and forth to New
Jersey. Please let me know if you will consent to his participation next Wednesday via phone. Ron Severaid will be in
attendance and has full authority to settle this dispute. | need to take this to Judge Schneider today so please let me know.
Yours,

John

John M. Shoreman

McFadden & Shoreman

1050 Connecticut Avenue, NW
Suite 1050

Washington, DC 20036

(202) 772-3188

Fax (202) 204-8610
